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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                                  )
In re:                                                            )   Chapter 11
                                                                  )
YELLOW CORPORATION, et al.,                                       )   Case No. 23-11069 (CTG)
                                                                  )
                                  Debtors.1                       )   Jointly Administered
                                                                  )
                                                                  )   Re: D.I. 1329 & 1486


       JOINDER OF ANNE-CELESTE OPENSHAW TO OBJECTION OF AARON
      MISQUEZ TO THE MOTION OF DEBTORS TO ESTABLISH ALTERNATIVE
           DISPUTE RESOLUTION PROCEDURES FOR RESOLUTION OF
           CERTAIN LITIGATION CLAIMS AND FOR RELATED RELIEF

          Anne-Celeste Openshaw (“Ms. Openshaw”) hereby files this joinder (the “Joinder”) to

  the Objection of Aaron Misquez to the Motion of Debtors to Establish Alternative Dispute

  Resolution Procedures for Resolution of Certain Litigation Claims and for Related Relief [D.I.

  1486] (the “Objection”). In support of this Joinder, Ms. Openshaw respectfully states as

  follows.

                             JOINDER AND LIMITED OBJECTION

          1.      Ms. Openshaw expressly joins, adopts, and incorporates the arguments set forth

  in the Objection and reserves all rights to fully participate in any hearings and resolutions

  concerning matters raised in the Objection.

          2.      Additionally, Ms. Openshaw objects to the Motion of Debtors to Establish

  Alternative Dispute Resolution Procedures for Resolution of Certain Litigation Claims and for

  Related Relief [D.I. 1329] (the “ADR Motion”) because the ADR Motion establishes a process


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          A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of
          the Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation.
          The location of Debtors’ principal place of business and the Debtors’ service address in these
          chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
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by which claims are disallowed without the protections afforded objections to claims in rule

3007 of the Federal Rules of Bankruptcy Procedure (the “Rules”) and rule 3007-1 of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Rules”). Claimants are not expecting substantive rights with

respect to their claims to be impacted by a motion filed in the bankruptcy case, which does not

(i) explicitly state that substantive rights may be affected and (ii) identify the claimants that are

impacted. See e.g., ADR Procedures § V.A.1[Ex. 1 to Ex. A of the Motion] (if a claimant does

not respond to the second ADR Notice2 and Immediate Claim Settlement Offer by the Second

Claimant Response Deadline, there is deemed consent to the settlement offer and the claimant’s

claim is deemed satisfied); ADR Procedures § VI (provides that failure to comply or cooperate

with the ADR Procedures may be a basis to disallow claims).

        3.      Ms. Openshaw further objects to the ADR Motion because it establishes a

process whereby settlements are negotiated and agreed to that may never be funded by the

insurers. It is Ms. Openshaw’s understanding that certain of the insurance policies require large

deductibles or self-insured retention amounts (including one that has a $6,000,000 deductible)

before the insurance company has any obligation to provide insurance coverage. Further, under

these policies, the bankruptcy of the insured does not require the insurance company to drop

down to replace the deductible or to assume any obligations associated with the deductible.

Under the ADR Procedures, “[a]ny amount of a Litigation Claim resolved by these ADR

Procedures shall be paid in accordance with the terms, provisions, conditions and exclusions of

Debtors’ insurance policies . . . .” See ADR Procedures § II. The ADR Procedures further

reserve all insurers’ rights, including expressly providing that it does not modify or otherwise


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        Capitalized terms used herein, but not defined herein have the meaning ascribed such terms in the
        ADR Motion.

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alter the conditions or exclusions of any insurance policy or modify the Debtors’ obligations to

pay retentions or deductibles. Id. at § III. Accordingly, the ADR Procedures seem to establish

a process whereby settlements are offered or negotiated that may not be paid by the insurers.

The ADR Procedures should be modified to reflect that to the extent a settlement is reached,

ORIC and any Third-Party Payors are deemed to waive any policy provisions that would allow

the insurance companies to avoid making the settlement payment.

                               RESERVATION OF RIGHTS

       4.      Ms. Openshaw reserves her right to amend, supplement, and/or otherwise

modify this Joinder and to raise further objections as may be necessary.

                                       CONCLUSION

       WHEREFORE, Ms. Openshaw requests that the Court (i) deny or modify the ADR

Procedures and (ii) grant Ms. Openshaw such further relief as is just and proper.



Dated: December 26, 2023
       Wilmington, Delaware
                                                   BAYARD, P.A.

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